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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
    UNITED STATES OF AMERICA, ex rel.
    BARBARA BERNIER; BARBARA BERNIER;
    and ESE LOVE,
                    Plaintiffs,

           v.

    INFILAW CORPORATION; CHARLOTTE
    SCHOOL OF LAW, LLC; AMERICAN BAR
                                                           Case No. 6:16-cv-00970-RBD-TBS
    ASSOCIATION, d/b/a COUNCIL OF THE
    SECTION OF LEGAL EDUCATION AND
    ADMISSIONS TO THE BAR; and AMERICAN
    BAR ASSOCIATION, d/b/a ACCREDITATION
    COMMITTEE OF THE SECTION OF LEGAL
    EDUCATION AND ADMISSIONS TO THE
    BAR,
                      Defendants.


       CONSENT MOTION OF DEFENDANTS INFILAW CORPORATION AND
       CHARLOTTE SCHOOL OF LAW, LLC FOR EXTENSION OF TIME TO
     RESPOND TO SECOND AMENDED COMPLAINT AND FOR LEAVE TO FILE
             JOINT MOTION TO DISMISS IN EXCESS OF 25 PAGES

          Defendants InfiLaw Corporation (“InfiLaw”) and Charlotte School of Law, LLC

   (“CSL”), through counsel, pursuant to Local Rule 3.01, and with the consent of Plaintiffs,

   respectfully move the Court to extend the time for response to the Second Amended Complaint

   (“SAC”) until June 4, 2018 (three court days from the current response deadline), for leave to

   submit one combined Motion to Dismiss the SAC, and to allow that Motion to be up to 45

   pages. In support Defendants state:

          1.      On May 7, 2018, Relator filed a Second Amended Complaint (“SAC”). Dkt.

   73. Relator added two new plaintiffs to the case: herself (as an individual) and Ese Love, both
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   proceeding as non-relators (the “Individual Plaintiffs”). The SAC also names two new

   American Bar Association (“ABA”) entities as defendants.

          2.      Defendants’ response to the SAC is due May 30, 2018, pursuant to an Order the

   Court issued on May 22, 2018. (The Order denied Defendants’ previous request for an

   extension to July 16, 2018.) Dkt. 82. Following and in light of that Order, the parties conferred

   and have agreed that InfiLaw and CSL can have until June 4, 2018 (three Court days from the

   current May 30th deadline) to file a combined Motion to Dismiss the SAC of no more than 45

   pages. Allowing this modest extension will allow InfiLaw and CSL to prepare their Motion to

   Dismiss free of conflicts their counsel have with other work and vacation commitments.

   Accordingly, InfiLaw and CSL respectfully move for the Court to enter an Order consistent

   with the parties’ agreement.

          3.      The facts and events alleged in the SAC about InfiLaw and CSL are highly

   intertwined, as are the legal issues underlying their requests for dismissal. Therefore, as with

   their previous Motions to Dismiss, InfiLaw and CSL believe that a Joint Motion to Dismiss is

   the most efficient way to present their arguments. This Court has previously granted this

   request. See Dkt. 42 and 52. Thus, instead of filing two separate motions to dismiss and

   supporting memoranda under the Local Rules’ 25-page limitation (Loc. R. 3.01(a)),

   Defendants request permission to file a single Joint Motion of no more than 45 pages.




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          Therefore, InfiLaw and CSL move the Court to enter an Order (a) extending the time

   to respond to the SAC until June 4, 2018, (b) allowing them to file a joint Motion to Dismiss

   and Supporting Memorandum of Law, and (c) to permit that Motion to be up to 45 pages.



    Dated: May 23, 2018                                Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 23, 2018, I electronically filed the foregoing with

   the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

   filing to all counsel of record, including the following:

   Coleman W. Watson, Esq.
   Watson LLP
   189 S. Orange Avenue, Suite 810
   Orlando, FL 32801

   Counsel for Relator and Plaintiffs


   Jeremy Ronald Bloor
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   Suite 3100
   400 W. Washington St.
   Orlando, FL 32801

   Counsel for United States of America


          I further hereby certify that on May 23, 2018, I also served the following non-ECF

   participant, via U.S. mail, First Class and postage prepaid, addressed as follows:

   American Bar Association
   Attn: Barry A. Currier
   321 North Clark Street, 21st Floor
   Chicago, IL 60654-7598



                                                          /s/ David E. Mills
                                                          David E. Mills
                                                          Counsel for Defendants InfiLaw
                                                          Corporation and Charlotte School of
                                                          Law, LLC




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